       Case 8-20-08051-ast            Doc 25      Filed 10/08/20       Entered 10/08/20 13:41:17




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
In Re:                                                                Chapter 11

ORION HEALTHCORP., INC.,                                              Case No.: 18-71748 (AST)

                                                                      (Jointly Administered)

                           Debtors.
------------------------------------------------------------------X
HOWARD M. EHRENBERG IN HIS
CAPACITY AS LIQUIDATING TRUSTEE OF                                    Adv. Pro. No.: 20-08051 (AST)
ORION HEALTHCORP, INC., ET AL.,

                                   Plaintiff,
        v.

                                                                      NOTICE OF APPEARANCE
ELENA SARTISON, 2 RIVER TERRACE                                       AND DEMAND FOR
APARTMENT 12J LLC, CLODAGH BOWYER                                     SERVICE OF PAPERS FOR
GREEN A/K/A CLODAGH BOWYER,                                           THE RESIDENTIAL BOARD OF
ELLIOTT GREENE,                                                       MANAGERS OF RIVERHOUSE
                                                                      ONE ROCKEFELLER PARK
                                                                      CONDOMINIUM

                                    Defendants.
------------------------------------------------------------------X

TO THE CLERK OF THIS COURT
AND ALL PARTIES OF RECORD:

        PLEASE TAKE NOTICE, that Rosenberg & Pittinsky, LLP, by Laurence D. Pittinsky

Esq., hereby appears in the above entitled proceeding as attorneys for the Residential Board of

Managers of Riverhouse One Rockefeller Park Condominium with respect to its interest in and

claims against defendant 2 River Terrace Apartment 12J LLC and the condominium unit identified

as 2 River Terrace, Unit 12J, New York, New York, Block 16, Lot 3741.
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       PLEASE TAKE FURTHER NOTICE, that request is hereby made for service of all future

papers, including but not limited to orders, pleadings, motions, notices and discovery demands filed

in the above-captioned proceeding be directed or served upon the undersigned attorneys for the

Residential Board of Managers of Riverhouse One Rockefeller Park Condominium at the office

address set forth below.

Dated: New York, New York
       October 8, 2020
                                              ROSENBERG & PITTINSKY, LLP
                                              Attorneys for Residential Board of Managers of
                                              Riverhouse One Rockefeller Park Condominium


                                                      /s/ Laurence D. Pittinsky
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